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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


 FEDERAL TRADE COMMISSION,

                   Plaintiff,

              v.                                          Case No.: 4:23-CV-03560-KH

 U.S. ANESTHESIA PARTNERS, INC., et al.,

                   Defendants.


                         Joint Motion to Amend Order Setting Scheduling
       On May 1, 2024, the Court entered its Order Setting Scheduling, ECF No. 143, adopting

with modifications the parties’ proposed plan, ECF No. 132. Plaintiff Federal Trade Commission

and Defendant U.S. Anesthesia Partners, Inc. have met and conferred and, to avoid additional

disputes, to accommodate the expected voluminous document discovery, and to facilitate orderly

deposition and expert discovery, respectfully submit that good cause exists to amend the

schedule as set forth in the table below. This schedule is reflected in the attached proposed order.

 Event                             Current Deadline                 Proposed Deadline
 Initial Disclosures               May 13, 2024                     May 13, 2024
 Discovery Opens                   May 13, 2024                     May 13, 2024
 Substantial Completion of         n/a                              December 16, 2024
 Document Production in
 Response to First Set of
 Requests for Production
 Fact Discovery Closes             April 30, 2025                   April 30, 2025
 Initial Expert Reports            January 31, 2025                 June 25, 2025
 Rebuttal Expert Reports           February 28, 2025                August 20, 2025
 Reply Expert Reports              n/a                              October 1, 2025
 Close of Expert Discovery         April 30, 2025                   October 22, 2025
 Dispositive Motions               April 30, 2025                   December 5, 2025
 Oppositions                       May 30, 2025                     January 20, 2026
 Replies                           June 9, 2025                     February 19, 2026
 Docket Call                       September 8, 2025, at 11:30 am   May 20, 2026, at 11:30 am
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       The parties are available should the Court have any questions or require additional

information.



Date: September 13, 2024                            Respectfully submitted,

 /s/ Timothy Kamal-Grayson                         /s/ Kenneth M. Fetterman
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                                                   Counsel for Defendant U.S. Anesthesia
                                                   Partners, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, I caused the foregoing Joint Motion to Amend Order

Setting Scheduling and attached proposed order to be served on all counsel of record using the

ECF system of the United States District Court for the Southern District of Texas.


Dated: September 13, 2024
                                                /s/ Timothy Kamal-Grayson




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